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                        1     GARMAN TURNER GORDON LLP
                        2
                              WILLIAM M. NOALL
                              California Bar No. 122244
                        3     Email: wnoall@gtg.legal
                        4
                              7251 Amigo Street, Ste. 210
                              Las Vegas, Nevada 89119
                        5     Telephone: 725-777-3000
                        6
                              Facsimile: 725-777-3112
                              Attorneys for American Dream Fund, LLC
                        7

                        8
                                                UNITED STATES DISTRICT COURT

                        9
                                         FOR THE CENTRAL DISTRICT OF CALIFORNIA

                      10 WENBIN WEI, individually and                  Case No.: 19-cv-09031-JAK-SK
                         derivatively on behalf of Nominal
                      11 Defendant, SLS Tranche 1 Lender LLC,
                                                                       NOTICE OF MOTION AND
                      12
                                                 Plaintiff,            APPLICATION FOR ORDER TO
                      13                                               SHOW CAUSE AND MOTION TO
                              vs.                                      STAY DISCOVERY
                      14

                      15      STOCKBRIDGE CAPITAL GROUP,               Date:        May 4, 2020
                              LLC; AMERICAN DREAM FUND,                Time:        8:30 a.m.
                      16
                              LLC; CELONA ASSET                        Judge:       Hon. John A. Kronstadt
                      17      MANAGEMENT (USA) LTD.; LAS               Courtroom:   10B
                      18      VEGAS RESORT INVESTMENT
                              COMPANY LLC; LAS VEGAS
                      19      RESORT HOLDINGS LLC; HENRY
                      20      GLOBAL CONSULTING GROUP;
                              PAM-AMERICA BUSINESS
                      21      CONSULTING, LTD.; SB GAMING
                      22      LLC; STOCKBRIDGE REAL ESTATE
                              FUND II CO INVESTORS LV, LP;
                      23      STOCKBRIDGE REAL ESTATE FUND
                      24      II-A, LP; STOCKBRIDGE REAL
                              ESTATE FUND II-B, LP;
                      25      STOCKBRIDGE REAL ESTATE FUND
                      26      II-T, LP; STOCKBRIDGE REAL
                              ESTATE FUND II-D, LP;
                      27      STOCKBRIDGE REAL ESTATE FUND
                      28      II-E, LP; STOCKBRIDGE REAL
                                                                   i           APPLICATION FOR ORDER TO SHOW CAUSE
Garman Turner Gordon LLP
7251 Amigo Street, Ste. 210                                                          AND MOTION TO STAY DISCOVERY
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                        1     ESTATE FUND III-A, LP;
                        2
                              STOCKBRIDGE REAL ESTATE FUND
                              III-B, LP; STOCKBRIDGE REAL
                        3     ESTATE FUND III-C, LP; LAS VEGAS
                        4
                              RESORT INTERMEDIATE COMPANY
                              LLC; LAS VEGAS RESORT VOTECO
                        5     COMPANY, LLC; MERUELO
                        6
                              INVESTMENT PARTNERS LLC;
                              ALEX MERUELO,
                        7

                        8                      Defendants,

                        9     and
                      10
                              SLS TRANCHE 1 LENDER LLC,
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                      12                       Nominal
                              Defendant.
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                                                                 ii      APPLICATION FOR ORDER TO SHOW CAUSE
Garman Turner Gordon LLP
7251 Amigo Street, Ste. 210                                                    AND MOTION TO STAY DISCOVERY
   Las Vegas, NV 89119                                                          CASE NO.: 19-CV-09031-JAK-SK
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                        1           NOTION OF APPLICATION FOR ORDER TO SHOW CAUSE AND
                        2                            MOTION TO STAY DISCOVERY
                        3            PLEASE TAKE NOTICE that on May 4, 2020, at 8:30 a.m., or as soon
                        4     thereafter as the matter may be heard, before the Honorable John A. Kronstadt of the
                        5     United States District Court, in Courtroom 10B of the First Street Courthouse
                        6     located at 350 W. First Street, Los Angeles, CA 90012, Defendant American Dream
                        7     Fund, LLC (“ADF”) will and hereby requests the Court (i) issue an order to show
                        8     cause directing Plaintiff (1) to identify who drafted his Complaint (defined below);
                        9     (2) to identify whether Plaintiff has an attorney and if so, the identity and contact
                      10      information for that attorney; and (3) to state the degree and nature of Ms. Makhsous’
                      11      involvement in the present action and (ii) stay discovery pending resolution of
                      12      ADF’s pending Motion to Dismiss Complaint [ECF No. 12] (“Motion to Dismiss”).
                      13             This Application and Motion are based on this Notice, the Memorandum of
                      14      Points and Authorities below, the Declaration of William Noall, attached hereto as
                      15      Exhibit 1, the argument of counsel at the hearing, and other such matters as may
                      16      come before the Court on this matter.
                      17      ///
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                      28
                                                                        iii          APPLICATION FOR ORDER TO SHOW CAUSE
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                        1           This Application and Motion is made following the conferences of counsel
                        2     and plaintiff pursuant to L.R. 7-3 which initially took place on December 24, 2019,
                        3     and a subsequent meeting took place on January 24, 2020.1
                        4           DATED this 31st day of January, 2020.
                        5                                           GARMAN TURNER GORDON LLP
                        6

                        7
                                                                    By: /s/ William M. Noall
                                                                      WILLIAM M. NOALL
                        8                                             California Bar No. 122244
                        9
                                                                      650 White Drive, Ste. 100
                                                                      Las Vegas, Nevada 89119
                      10                                              Telephone: 725-777-3000
                      11
                                                                      Facsimile: 725-777-3112
                                                                      Attorneys for American Dream Fund, LLC
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                               Regarding the January 24, 2020 meeting, see Declaration of William M. Noall
                      27      Regarding Compliance with LR 7-3 Concerning American Dream Fund, LLC’s
                              Motion for Court to Issue Order to Show Cause and Stay Discovery, attached hereto
                      28      as Exhibit 1.
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                        1                                    I.      INTRODUCTION
                        2           This action arises from around 400 investors’ (“EB-5 Investors”) participation
                        3     in the EB-5 Immigrant Investor Pilot Program (the “EB-5 program”). Each of the
                        4     EB-5 Investors invested $500,000 in SLS Tranche 1 Lender, LLC (“Tranche 1”).2
                        5     Tranche 1 loaned the invested funds to an entity redeveloping the Sahara Hotel &
                        6     Casino in Las Vegas, Nevada. Pro se Plaintiff, Wenbin Wei (“Plaintiff” or “Wei”),
                        7     is a Chinese national and Tranche 1 investor, who seeks to bring the present action
                        8     derivatively on behalf of Tranche 1.
                        9            Despite appearing as a pro se plaintiff, Plaintiff admits that he did not draft
                      10      the complaint [ECF No. 1] (“Complaint”), does not understand its contents, and has
                      11      a limited grasp of English. Plaintiff refused to disclose who drafted the Complaint
                      12      or whether they were a licensed attorney. When pressed, Plaintiff stated that he was
                      13      actually represented by a woman but refused to identify her or disclose whether she
                      14      was an attorney. Since that time, he says that his representative is a woman located
                      15      in China that does not appear to be licensed to practice law in California. He further
                      16      stated that he had unofficial counsel but had not made a decision as to official
                      17      counsel—it is unclear whether he was using the word “counsel” to mean an attorney.
                      18            Upon information and belief, Ms. Xuejun Zoe Makhsous, an investor rights
                      19      advocate who is not licensed to practice law in this or any other jurisdiction, drafted
                      20      the complaint and is providing legal advice for a fee. Worse yet, Ms. Makhsous had
                      21      previously been enjoined from representing SLS investors. Ms. Makhsous’
                      22      involvement is undeniable. Not only did she reach out to ADF on behalf of Plaintiff,
                      23      but the Complaint borrows extensively form other pleadings filed by Ms. Makhsous.
                      24      Plaintiff’s new admission that a third-party located in China is also involved in the
                      25      litigation further muddies the water and creates an untenable position.
                      26

                      27      2
                               While ADF acted as the regional center for the Tranche 1 investment, ADF was not
                              a manager of Tranche 1 and is not alleged to have made any false statements to
                      28      Tranche 1 or any of its investors.
Garman Turner Gordon LLP                                                 1           APPLICATION FOR ORDER TO SHOW CAUSE
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                        1           As Plaintiff both claims to be represented and unrepresented, the undersigned
                        2     is faced with an ethical dilemma under Rule 4.2(a) of the California Rules of
                        3     Professional Conduct (formerly Rule 2-100(A)). If that representative is an attorney,
                        4     ADF’s counsel must communicate with counsel. If the representative is not counsel,
                        5     an unauthorized practice of law is ongoing. This untenable situation dictates that the
                        6     Court issue an order to show cause, directing Plaintiff (1) to identify who drafted his
                        7     Complaint; (2) to identify whether Plaintiff has an attorney and if so, the identity and
                        8     contact information for that attorney; and (3) to state the degree and nature of Ms.
                        9     Makhsous or any third-party’s involvement in the present action. Until the issue is
                      10      resolved, ADF requests the Court stay discovery.
                      11            Additionally, per the Court’s order, the parties have an ongoing discovery
                      12      obligation. [ECF No. 14]. Not only are there serious concerns raised by shadow
                      13      representation, but ADF and the remaining Defendants’ proprietary business
                      14      information and records will be subject to discovery and improper use by unknown
                      15      parties. There are serious issues with providing business records to a third-party
                      16      engaged in the unauthorized practice of law that is taking advantage of Tranche 1’s
                      17      members.
                      18            Accordingly, ADF respectfully asks the Court to issue an order to show cause,
                      19      directing Plaintiff (1) to identify who drafted his Complaint; (2) to identify whether
                      20      Plaintiff has an attorney and if so, the identity and contact information for that
                      21      attorney; and (3) to state the degree and nature of Ms. Makhsous or any third-party’s
                      22      involvement in the present action. Relatedly, ADF requests the Court stay discovery
                      23      until the issues surrounding Plaintiff’s representation, and other dispositive issues
                      24      raised in ADR’s Motion to Dismiss, are resolved.
                      25                                   II.    LEGAL ARGUMENT
                      26            The Court should issue an order to show cause, directing Plaintiff (1) to
                      27      identify who drafted his Complaint; (2) to identify whether Plaintiff has an attorney
                      28      and if so, the identity and contact information for that attorney; and (3) to state the
Garman Turner Gordon LLP                                                 2            APPLICATION FOR ORDER TO SHOW CAUSE
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                        1     degree and nature of Ms. Makhsous or any third-party’s involvement in the present
                        2     action. ADF also requests the Court temporarily stay discovery until it rules on
                        3     ADF’s pending Motion to Dismiss.
                        4     A.    The Court should direct Plaintiff to identify the drafter of the Complaint
                        5           and to state the nature of Ms. Makhsous’ involvement.
                        6           In his 28-page Complaint, pro se Plaintiff alleges five causes of action and
                        7     seeks equitable relief along with $299 million in damages. His Complaint expressly
                        8     seeks the rescission of the nearly 400 EB-5 Investors’ investments.
                        9            Plaintiff admits that he did not draft the Complaint, does not understand its
                      10      contents, and has limited understanding of the English language or the law. [ECF
                      11      No. 12-9 at ¶ 6]. Plaintiff went so far as to claim that he had counsel, before stating
                      12      that he did not have counsel and was searching for counsel. [Id. at ¶¶ 2-3].
                      13      Additionally, he repeatedly refuses to disclose who drafted the Complaint or who is
                      14      making or helping him to make decisions regarding this litigation. [Noall Decl. at
                      15      ¶¶8-10]. He now claims that he is being represented by an individual in China, Jane
                      16      Long. [Id. at ¶ 11; Exhibit 1-A]. Ms. Long does not appear to be a licensed California
                      17      attorney. [Id.]. Nonetheless, Plaintiff appears to be directing that communications
                      18      go through Ms. Long. [Id.].
                      19            Furthermore, the actual author of the Complaint is believed to be Ms.
                      20      Makhsous, a non-attorney who would be engaged in the unauthorized practice of
                      21      law. Ms. Makhsous holds herself out as an advocate for EB-5 investors in legal
                      22      matters. [ECF No. 12-1 at ¶ 6]. She “is a self-employed translator, researcher, an
                      23      EB-5 investor rights advocate and an independent paralegal in-training.” [Case No.
                      24      19-cv-01230, ECF No. 1, p. 2 (N.D. Ill. 2018)]. Ms. Makhsous’ business EB5
                      25      Arbitration and Litigation Specialists, LLC, admits to providing legal services to
                      26      EB-5 investors:
                      27            To further assist to protect investors’ rights to rescission of Chinese EB-
                                    5 defrauded by Defendants, Plaintiff has registered a new firm, EB5
                      28            Arbitration and Litigation Specialists LLC in Wyoming, and provides
Garman Turner Gordon LLP                                                 3            APPLICATION FOR ORDER TO SHOW CAUSE
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                        1             pro bono interpretation service, pro bono attorney screening and
                                      referral, and contingency based arbitration representation in New York
                        2             and other states permitted by law pursuant Operating Agreements of
                                      EB-5 funds Defendants induced Chinese EB-5 investors to sign.
                        3

                        4     [Case No 19-cv-01230, ECF No. 45, (N.D. Ill. 2018)].
                        5             In fact, Ms. Makhsous previously brought an American Arbitration
                        6     Association proceeding against ADF on behalf of several investors in the SLS
                        7     project. [ECF No. 12-9 at ¶ 8]. On September 24, 2019, Arbitrator Mark Dosker
                        8     prohibited Ms. Makhsous from continuing to represent claimants in that proceeding.
                        9     [See ECF No. 12-10].
                      10              Two days after the order was issued, on September 26, 2019, Ms. Makhsous
                      11      distributed a letter SLS investors, including Plaintiff (the “Letter”). [ECF No. 12-4].
                      12      Therein, she advised investors to bring a derivative action by October 26, 2019 that
                      13      seeks the rescission of the at issue loan. [Id.]. Plaintiff filed those very claims on
                      14      October 21, 2019. [ECF No. 1].
                      15              In addition, after Plaintiff filed the instant lawsuit, Ms. Makhsous, acting on
                      16      Plaintiff’s behalf, emailed ADF a copy of the Complaint and asked to schedule a
                      17      meeting between ADF, her and the Plaintiff. [ECF No. 12-1 at ¶ 4; ECF No. 12-8].
                      18              It is unmistakable that Ms. Makhsous is engaged in the unauthorized practice
                      19      of law. Furthermore, she likely drafted the Complaint, as several of the allegations
                      20      being made in this Complaint are identical to those pled by Ms. Makhsous in the
                      21      North District of Illinois, where Ms. Makhsous is suing a different EB-5 project on
                      22      behalf of investors she represented as a consultant. [Compare ECF No. 1 at ¶¶ 77-
                      23      98; with ECF 12-12 at ¶¶ 203-230].
                      24              Worse yet, Plaintiff refuses to identify whether Ms. Makhsous is involved
                      25      here. [ECF No. 12-9 at ¶ 2; Noall Decl. at ¶ 9]. Additionally, Plaintiff has now
                      26      revealed that he is also receiving legal services from another third-party that does
                      27      not appear to be licensed to practice law in the State of California, Jane Long. [Exh.
                      28      1-A].
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                        1           1. Tranche 1, ADF and the other defendants will be substantially
                        2               burdened if an order to show cause is not issued and stay is not
                        3               granted.
                        4           If this case goes forward at this stage, direct harm will result to Tranche 1,
                        5     ADF, Plaintiff and the other Defendants. First, if Plaintiff is subsequently
                        6     determined to be represented by a non-attorney, Plaintiff will be permitted to void
                        7     any litigation that was conducted by such non-attorney. Gomes v. Roney, 151 Cal.
                        8     Rptr. 756, 757 (Ct. App. 1979); see also Naylor Senior Citizens Hous., LP v. Side
                        9     Const. Co., Inc., 23 S.W.3d 238, 246-47 (Mo. 2014). “The reasons for this approach
                      10      are predicated in public policy designed to preserve the rights of litigants from the
                      11      mistakes of the ignorant and against injuries caused by the unscrupulous.” Gomes,
                      12      151 Cal. Rptr. at 757; Roebuck v. HealthSource Glob. Staffing, CV 14-00295 RS,
                      13      2014 WL 1245430, at *2 (N.D. Cal. Mar. 25, 2014). Similarly, if discovery proceeds,
                      14      Plaintiff, who has already claimed to be unfamiliar with litigation, will not be bound
                      15      by any decisions made by Ms. Makhsous or Ms. Long. This will prejudice ADF,
                      16      Tranche I and the other defendants in that they will be unable to rely on the decisions
                      17      being made on Plaintiff’s behalf until there is clarity on who is representing Plaintiff
                      18      and whether the representation is proper. Thus, the Court should stay discovery until
                      19      issues surrounding Plaintiff’s representation are resolved.
                      20            Furthermore, complying with its discovery obligations will require ADF to
                      21      potentially disclose its own confidential and proprietary business information
                      22      implicating closely-held investment strategies and sensitive investment data related
                      23      to the EB-5 Investors, including the personal information of the EB-5 Investors. If
                      24      Plaintiff is truly pro se, ADF has deep-seeded concerns about transmitting vast
                      25      amounts of confidential information to a pro se party who is not trained as lawyer,
                      26      who admits to having little understanding of the American legal system and the
                      27      claims in the Complaint or the English language. There is also substantial concern
                      28      that all or some of the documents will be published domestically and overseas
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                        1     without formal, judicial intervention. This is especially the case as Plaintiff’s
                        2     representative Ms. Long purportedly lives in China.
                        3            If Plaintiff is working with a non-attorney, ADF has an even greater concern
                        4     over the misuse of the information exchanged in discovery. As set forth above, Ms.
                        5     Makhsous has already misled investors into retaining her in another arbitration.
                        6     Therefore, it is foreseeable that Ms. Makhsous (or Ms. Long) will likely misuse
                        7     discovery received. As explained in the AAA decision, non-attorneys pose a threat
                        8     to the people they represent. [See ECF No. 12-10]. There is no question that an
                        9     unauthorized practice of law jeopardizes the integrity of these proceedings and legal
                      10      process. Additionally, given the likelihood that ADF’s business information will be
                      11      improperly used and disseminated, discovery should be stayed pending a resolution
                      12      of the order to show cause.
                      13      B.     Prevailing law supports a stay of discovery pending a ruling on ADF’s
                      14             dispositive motions.
                      15             ADF filed a Motion to Dismiss Plaintiff’s Complaint on January 13, 2020,
                      16      based on multiple compelling grounds. [ECF No. 12]. On January 15, 2020, the
                      17      Court issued a Rule 16 Order initiating discovery [ECF No. 14]. However, in light
                      18      of questions surrounding the adequacy of Plaintiff’s representation and other
                      19      grounds raised in ADF’s Motion, the Court should stay discovery until it rules on
                      20      ADF’s Motion—and the subsequent motions of any appearing defendant.
                      21             “The power to stay proceedings is ‘incidental to the power inherent in every
                      22      court to control the disposition of the causes on its docket with economy of time and
                      23      effort for itself, for counsel, and for litigants.’” California Trout, Inc. v. United States
                      24      Bureau of Reclamation, 115 F.Supp.3d 1102, 1117 (C.D. Cal. 2015) (citing Landis
                      25      v. N. Am. Co., 299 U.S. 248, 254-55, 57 (1936). “A stay of discovery pending the
                      26      determination of a dispositive motion ‘is an eminently logical means to prevent
                      27      wasting the time and effort of all concerned, and to make the most efficient use of
                      28      judicial resources.’” Chavous v. D.C. Fin. Responsibility & Mgmt. Assistance Auth.,
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                        1     201 F.R.D. 1, 2 (D.D.C. 2001) (citations omitted)); Vivid Techs., Inc. v. Am. Sci. &
                        2     Eng’g, Inc., 200 F.3d 795, 804 (Fed. Cir. 1999) (“When a particular issue may be
                        3     dispositive, the court may stay discovery concerning other issues until the critical
                        4     issue is resolved.”); Los Angeles Biomedical Research Inst. at Harbor-UCLA Med.
                        5     Ctr. v. Eli Lilly & Co., 2014 WL 11241786, at *7 (C.D. Cal. May 12, 2014) (“A
                        6     court may “stay discovery when it is convinced that the plaintiff will be unable to
                        7     state a claim for relief.”); see also Fed. R. Civ. P. 26(c) (“The court may, for good
                        8     cause, issue an order to protect a party or person from annoyance, embarrassment,
                        9     oppression, or undue burden or expense.”); Wood v. McEwen, 644 F.2d 797, 801 (9th
                      10      Cir.1981).
                      11            When considering a stay, courts weigh the following five guiding factors: (1)
                      12      the interests of the plaintiff in proceeding expeditiously with the civil action and the
                      13      potential prejudice to plaintiffs of a delay; (2) the burden on the defendant if a stay
                      14      is not granted; (3) the convenience to the court; (4) the interests of persons not parties
                      15      to the civil litigation; and (5) the public interest. Top Rank, Inc. v. Haymon, 2015
                      16      WL 9952887, at *1 (C.D. Cal. Sept. 17, 2015).
                      17            Here, the factors weigh in favor of issuing a stay.
                      18            1.     ADF’s motion to dismiss is dispositive based on relevant case law.
                      19            When considering a stay pending the resolution of a motion to dismiss, courts
                      20      look to the nature of the motion to dismiss. Top Rank, Inc., 2015 WL 9952887, at
                      21      *1; see also Skellerup Indus. Ltd. v. City of Los Angeles, 163 F.R.D. 598, 601
                      22      (C.D.Cal.1995) (“Factors the court should consider include: The type of motion and
                      23      whether it is a challenge as a ‘matter of law’ or the ‘sufficiency’ of the allegations;
                      24      the nature and complexity of the action; whether counterclaims and/or cross-claims
                      25      have been interposed; whether some or all of the defendants join in the request for a
                      26      stay; the posture or stage of the litigation; the expected extent of discovery in light
                      27      of the number of parties and complexity of the issues in the case; and any other
                      28      relevant circumstances.”).
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                        1            Aside from pleading deficiencies under Fed. R. Civ. P. 8 and 9(b), ADF’s
                        2     motion to dismiss establishes why Plaintiff’s derivative claims must be dismissed as
                        3     a matter of law. Foremost, pro se plaintiffs cannot bring a derivative action. Kelly v.
                        4     Fuqi Int'l, Inc., 2013 WL 135666, at *7 (Del. Ch. Jan. 2, 2013); Pinnavaia v. Moody-
                        5     Stuart, 2009 WL 4899218, at *3 (N.D. Cal. Dec. 11, 2009); United States v. High
                        6     Country Broadcasting Co., 3 F.3d 1244, 1245 (9th Cir.1993); Phillips v. Tobin, 548
                        7     F.2d 408, 415 (2nd Cir.1976); see also Strojnik v. Kapalua Land Co. Ltd, 379 F.
                        8     Supp. 3d 1078, 1080 (D. Haw. 2019)(recognizing pro se litigants cannot bring
                        9     representative suits). Second, under the circumstances demonstrated above by ADF,
                      10      including Plaintiff’s limited understanding of U.S. law and the English language,
                      11      Plaintiff cannot adequately represent Tranche 1. [ECF No. 12 at pp. 8-9].
                      12             Additionally, the motion to dismiss establishes that the statute of limitations
                      13      expired two years ago. [ECF No. 12, at pp. 12-23]; In re NAHC, Inc. Sec. Litig., 306
                      14      F.3d 1314, 1325-26 (3d Cir. 2002) (holding “the district court correctly applied the
                      15      inquiry notice test in determining that ‘Appellants were on inquiry notice of that
                      16      claim no later than June 16, 1999, when NovaCare filed a Form 8–K.’”); see 10 Del.
                      17      C. § 8106(a); In re Marvel Entm't Grp., Inc., Civ. Nos. 97–638, 98–756, 273 B.R.
                      18      58, 80 (D.Del.2002); In re Am. Int'l Group, Inc., 965 A.2d 763, 812 (Del. Ch.
                      19      2009), aff'd sub nom. Teachers' Ret. Sys. of Louisiana v. PricewaterhouseCoopers
                      20      LLP, 11 A.3d 228 (Del. 2011). As the claims are barred, discovery should not go
                      21      forward.
                      22             Additionally, given that Plaintiff seeks the rescission of a 2014 loan and
                      23      damages of $198 million, there are immigration consequences for hundreds of
                      24      families if the claims go forward, such that the action requires the Court to carefully
                      25      inspect the claims and their viability. Finally, as the litigation is at its onset, and there
                      26      are no counterclaims or cross-claims, the Court should stay discovery until the
                      27      motion to dismiss is decided.
                      28      ///
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                        1           2.    Plaintiff will not be prejudiced by a stay of discovery.
                        2           Plaintiff will not suffer any prejudice from granting the Motion to Stay and
                        3     has no specific interest in expeditious discovery. Plaintiff has expressed that he does
                        4     not understand what discovery is or the steps moving forward. It is difficult to
                        5     understand how Plaintiff is going to prosecute a $200 million case without a basic
                        6     understanding of litigation, his claims, or the law. Nonetheless, he delayed in
                        7     bringing the action until years after the expiration of the statute of limitations. Thus,
                        8     delay in this case is attributable to Plaintiff, and in the event ADF’s Motion to
                        9     Dismiss is denied, Plaintiff “will not be unduly prejudiced by this stay because it
                      10      will not hinder his future ability to fully engage in discovery.” McMinn v. Dodson,
                      11      2012 WL 1415102 (D. Colo. 2012).
                      12            Further, it is also in Plaintiff’s interest to limit the time and resources he
                      13      devotes to discovery which may become moot if Plaintiff is deemed to be unable to
                      14      represent shareholders pro se or if ADF’s Motion to Dismiss is otherwise granted.
                      15      See McCarter v. Potter, 2010 WL 148258, at *2 (D. Colo. 2010) (“The plaintiff, just
                      16      as much as the defendant, stands to save expenses while this initial determination is
                      17      considered by the district court.”).
                      18            3.     ADF faces a substantial burden if a temporary stay is not granted.
                      19            As set forth above, if discovery in this case goes forward prior to resolving
                      20      issues regarding representation, there is a likelihood that Plaintiff’s actions will be
                      21      invalidated based on an unauthorized practice of law. There is also a substantial risk
                      22      that ADF’s and EB-5 Investors’ confidential information will be widely
                      23      disseminated or used to further harm the EB-5 Investors. Given that Plaintiff
                      24      candidly admits that he is relying on third-parties to assist him in this litigation, that
                      25      he does not understand U.S. law and thus cannot understand his obligations in
                      26      connection with this litigation (including to the EB-5 Investors), and is unable to
                      27      confer or agree on any matter, there is no effective prophylactic that could prevent
                      28      harm to ADF. Thus, this factor weighs in favor of a stay.
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                        1           4.     Staying this action is convenient for the Court.
                        2           Granting ADF’s Motion to Stay would be convenient for the Court because
                        3     the Motion to Dismiss addresses dispositive issues. If the Court grants ADF’s
                        4     Motion to Dismiss the action will be resolved. If discovery goes forward now, there
                        5     will invariably be numerous discovery disputes. Plaintiff admits to being unfamiliar
                        6     with the legal process. It is unclear how he intends to proceed, but if he prosecutes
                        7     his claims there are likely to be dozens of depositions and requests for voluminous
                        8     productions of information. It is likely that the requests will be highly contested,
                        9     leading to considerable motion practice.
                      10             In contrast, if the Court grants ADF’s Motion to Stay and later grants ADF’s
                      11      Motion to Dismiss, it will have avoided any discovery disputes. See Wahlberg v. NV
                      12      Energy, 2:19-cv-01494-GMN-BNW (D. Nev. Dec. 2, 2019) (“[A] temporary stay of
                      13      discovery will further the goals of judicial economy, control of the Court's docket,
                      14      and an inexpensive determination of the case. Ordering the parties to proceed with
                      15      discovery could potentially clog the Court's docket with discovery disputes on
                      16      claims that may be dismissed.”).
                      17            Given that responsive pleadings of numerous defendants are not due for many
                      18      weeks, the Court’s exercise of its discretion to temporarily stay discovery at this
                      19      juncture will likely ease the burdens on the Court and other parties.
                      20            5.     The interests of non-parties to the litigation would be best served
                      21                   by staying discovery.
                      22            Because derivative suits impact non-parties, derivative suits are suits of last
                      23      resort. Quinn v. Anvil Corp., 620 F.3d 1005, 1014 (9th Cir. 2010). A derivative suit
                      24      sounds in equity, which allows a member “to step into [an entity’s, here Tranche 1’s]
                      25      shoes and to seek in its right the restitution he could not demand in his own.” Cohen
                      26      v. Beneficial Loan Corp., 337 U.S. 541, 548 (1949). As such, the derivative plaintiff
                      27      is a fiduciary and the claims are “dependent upon his diligence, wisdom and
                      28      integrity.” Id. The Court should therefore look to the interest of the other investors
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                        1     that Plaintiff is attempting to represent.
                        2           Under the circumstances outlined above, Plaintiff is clearly not an adequate
                        3     representative of those investors. Furthermore, if successful and/or if the claims go
                        4     forward, there may be immigration consequences for all Tranche 1 investors, as
                        5     Plaintiff seeks to rescind the loan that serves the basis of the investors EB-5
                        6     participation. In essence, Plaintiff seeks to undo the investors’ mandatory
                        7     investment, making them ineligible for the EB-5 program and therefore migration to
                        8     the United States.
                        9           Furthermore, as admitted by Plaintiff, he is ill equipped and unable to
                      10      prosecute the claims without the assistance of others and is instead relying on third-
                      11      party non-attorneys. Given these admissions, it is impossible that Plaintiff could
                      12      adequately represent Tranche 1 and prosecute its claims. As such, the Court should
                      13      stay discovery until the adequacy of Plaintiff’s representation is resolved.
                      14            6.     The public interest is best served by staying discovery.
                      15            The competent resolution of this case directly impacts non-party shareholders
                      16      and rests in large measure on judicial integrity. It is widely accepted that “the legal
                      17      system cannot adequately safeguard the public’s interest unless it ensures a core
                      18      level of professional competence and integrity.” Cincinnati Bar Ass’n v. Bailey, 852
                      19      N.E.2d 1180, 1187 (Ohio 2006) (citing Akron Bar Assn. v. Frank, 724 N.E. 399, 401
                      20      (Ohio 2000) (nonlawyer who “has no idea of judicial procedure, no concept of how
                      21      to present facts, and [no ability] to interpret case law” was a “living example of why
                      22      we require character and fitness reviews, examinations of legal ability, and
                      23      continuing education of those who are permitted to give legal advice and appear in
                      24      our courts”). “The public interest [] requires that in the securing of professional
                      25      advice and assistance upon matters affecting one’s legal rights one must have
                      26      assurance of competence and integrity . . . .” In re Lerner, 197 P.3d 1067, 1071
                      27      (Nev. 2008). The prohibition on the unauthorized practice of law protects the public,
                      28      as “the public interest therefore requires that in the securing of professional advice
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                        1     and assistance upon matters affecting one’s legal rights one must have assurance of
                        2     competence and integrity and must enjoy freedom of full disclosure with complete
                        3     confidence in the undivided allegiance of one's counsellor in the definition and
                        4     assertion of the rights in question.” Id. at 1071. Here, the public, including the other
                        5     investors in Tranche 1 are best served by a stay of discovery. Not only will it prevent
                        6     a potential unauthorized practice of law, but it will ensure that all parties legal rights
                        7     are protected.
                        8                                       III.   CONCLUSION
                        9           For reasons stated herein and good cause shown, ADF respectfully requests
                      10      the Court issue an order to show cause, directing Plaintiff (1) to identify who drafted
                      11      his Complaint; (2) to identify whether Plaintiff has an attorney and if so, the identity
                      12      and contact information for that attorney; and (3) to state the degree and nature of
                      13      Ms. Makhsous or any third-party’s involvement in the present action. ADR also
                      14      requests the Court stay discovery until it rules on ADR’s Motion to Dismiss.
                      15            DATED this 31st day of January, 2020.
                      16                                               GARMAN TURNER GORDON LLP
                      17

                      18
                                                                       By:/s/William M. Noall
                                                                         WILLIAM M. NOALL
                      19                                                 California Bar No. 122244
                      20
                                                                         7251 Amigo St., Suite 210
                                                                         Las Vegas, Nevada 89119
                      21                                                 Telephone: 725-777-3000
                      22
                                                                         Facsimile: 725-777-3112
                                                                         Attorneys for American Dream Fund, LLC
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   1                                PROOF OF SERVICE
   2         I, the undersigned, certify and declare that I am over the age of 18 years,
   3   employed in the County of Clark, State of Nevada, and not a party to the above-
   4   entitled cause. On January 31, 2020, I served true copies of the NOTICE OF
   5   MOTION AND APPLICATION FOR ORDER TO SHOW CAUSE AND
   6   MOTION TO STAY DISCOVERY by depositing them in the United States Mail
   7   in a sealed envelope with the postage thereon fully prepaid to the following:
   8         Wenbin Wei
             328 S Sefton Avenue No. A
   9         Monterey Park, CA 91755
  10         Place of Mailing: Las Vegas, Nevada
  11         Executed on the 31st day of January, 2020 at Las Vegas, Nevada
  12                I hereby certify that I am a member of the bar of the United States
  13
                    District Court, Central District of California.

  14                I hereby certify that I am employed in the office of a member of the Bar
                    of this Court at whose direction the service was made.
  15

  16                I hereby certify under penalty of perjury that the foregoing is true and
                    correct.
  17

  18                                          By: /s/Anna Diallo
                                                An employee of
  19                                            GARMAN TURNER GORDON LLP
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